     Case 4:23-cr-00346         Document 17         Filed on 08/09/23 in TXSD          Page 1 of 6
                                                                                  United States Courts
                                                                                Southern District of Texas
                                                                                         FILED
                              UNITED STATES DISTRICT COURT
                                                                                     August 09, 2023
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                           Nathan Ochsner, Clerk of Court

UNITED STATES OF AMERICA                                §
                                                        §
               vs.                                      §      CRIMINAL NO. 4:23-cr-00346
                                                        §
ANDREW VENEGAS                                          §

                                    CRIMINAL INDICTMENT


THE GRAND JURY CHARGES THAT:

                                          INTRODUCTION

       At all times material to this Indictment:

1.     The term "minor" is defined, pursuant to Title 18, United States Code, Section 2256(1), as

"any person under the age of eighteen years."

2.     The term "child pornography," for purposes of this Indictment, is defined, pursuant to Title

18, United States Code, Section 2256(8)(A), as:

       "any visual depiction, including any photograph, film, video, picture, or computer or
       computer-generated image or picture, whether made or produced by electronic, mechanical,
       or other means, of sexually explicit conduct, where -

       (A)     the production of such visual depiction involves the use of a minor engaged in
               sexually explicit conduct."

3.     The term "sexually explicit conduct" is defined, pursuant to Title 18, United States Code,

Section 2256(2)(A), as any:

       "actual or simulated -
       (i)     sexual intercourse, including genital [to] genital, oral [to] genital, anal [to] genital, or
               oral [to] anal, whether between persons of the same or opposite sex; [or]
       (ii)    bestiality; [or]
       (iii) masturbation; [or]
       (iv)    sadistic or masochistic abuse; or
       (v)     [the] lascivious exhibition of the anus, genitals or pubic area of any person."


                                                    1
      Case 4:23-cr-00346        Document 17          Filed on 08/09/23 in TXSD     Page 2 of 6




4.     The term "computer" is defined, pursuant to Title 18, United States Code, Sections 2256(6)
and 1030(e)(1), as any:

       "electronic, magnetic, optical, electrochemical, or other high speed data processing device
       performing logical, arithmetic, or storage functions, and includes any data storage facility or
       communications facility directly related to or operating in conjunction with such device, but
       such term does not include an automated typewriter or typesetter, a portable hand held
       calculator or other similar device."

5.     The term "producing", for purposes of this Indictment, is defined, pursuant to Title 18,

United States Code, Section 2256(3) and case law, as:

       "producing, directing, manufacturing, issuing, publishing or advertising" and includes
       downloading or copying visual depictions from another source.

6.     The term "visual depiction" is defined, pursuant to Title 18, United States Code, Section

2256(5), as including, but is not limited to, any:

       "undeveloped film and videotape, and data stored on computer disk or by electronic means
       which is capable of conversion into a visual image."


                                           COUNT ONE
                                  (Sexual Exploitation of Children)

       On or about May 10, 2022, within the Southern District of Texas and elsewhere,

                                        ANDREW VENEGAS,

defendant herein, did employ, use, persuade, induce, entice and coerce and attempt to employ, use,

persuade, induce, entice and coerce a minor child, to wit: Minor Victim #1, to engage in any

sexually explicit conduct for the purpose of producing a visual depiction of such conduct, and such

visual depiction was transmitted using any means and facility of interstate and foreign commerce,

and the visual depiction was produced using materials that had been mailed, shipped and transported

in and affecting interstate and foreign commerce.

       In violation of Title 18, United States Code, Section 2251(a) & (e).

                                                     2
     Case 4:23-cr-00346        Document 17          Filed on 08/09/23 in TXSD   Page 3 of 6




                                         COUNT TWO
                                (Sexual Exploitation of Children)

       From on or about October 5, 2022 and continuing through November 5, 2022, within the

Southern District of Texas and elsewhere,

                                      ANDREW VENEGAS,

defendant herein, did employ, use, persuade, induce, entice and coerce and attempt to employ, use,

persuade, induce, entice and coerce a minor child, to wit: Minor Victim #2, to engage in any

sexually explicit conduct for the purpose of producing a visual depiction of such conduct, and such

visual depiction was transmitted using any means and facility of interstate and foreign commerce,

and the visual depiction was produced using materials that had been mailed, shipped and transported

in and affecting interstate and foreign commerce.

       In violation of Title 18, United States Code, Section 2251(a) & (e).




                                        COUNT THREE
                                 (Receipt of Child Pornography)

       On or about May 11, 2022, within the Southern District of Texas and elsewhere,

                                      ANDREW VENEGAS,

defendant herein, did knowingly receive material that contained child pornography using any means

and facility of interstate and foreign commerce, including by computer.

       In violation of Title 18, United States Code, Section 2252A(a)(2)(B) and Section

2252A(b)(1).



                                                    3
      Case 4:23-cr-00346        Document 17        Filed on 08/09/23 in TXSD         Page 4 of 6




                                          COUNT FOUR
                                  (Receipt of Child Pornography)

       On or about October 9, 2022, within the Southern District of Texas and elsewhere,

                                       ANDREW VENEGAS,

defendant herein, did knowingly receive material that contained child pornography using any means

and facility of interstate and foreign commerce, including by computer.

       In violation of Title 18, United States Code, Section 2252A(a)(2)(B) and Section

2252A(b)(1).




                                          COUNT FIVE
                                     (Coercion and Enticement)

       From on or about May 10, 2022 and continuing through November 5, 2022, within the

Southern District of Texas and elsewhere,

                                       ANDREW VENEGAS,

defendant herein, by use of a means of a facility of interstate and foreign commerce, did knowingly

and intentionally persuade, induce, entice, and coerce and attempt to persuade, induce, entice and

coerce a person, to wit: Minor Victim #1 and Minor Victim #2, whom defendant believed had not

attained the age of 18 years, to engage in sexual activity for which a person can be charged with a

criminal offense under the laws of the United States, that is, the crime of sexual exploitation of a

child, in violation of Title 18, United States Code, Section 2251.

       In violation of Title 18, United States Code, Section 2422(b).

                                                   4
     Case 4:23-cr-00346       Document 17        Filed on 08/09/23 in TXSD     Page 5 of 6




                                          COUNT SIX
                               (Possession of Child Pornography)

       On or about July 12, 2023, within the Southern District of Texas,

                                     ANDREW VENEGAS,

defendant herein, did knowingly possess material that contained an image of child pornography,

which had been shipped and transported using any means and facility of interstate and foreign

commerce, and which were produced using materials which have been mailed, shipped, and

transported in and affecting interstate and foreign commerce, by any means, including by computer,

more specifically: the defendant possessed an Alienware Dell Laptop bearing serial number

1C1R563, which contained still images and videos of child pornography.

       In violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and 2252A(b)(2).




                                                 5
      Case 4:23-cr-00346        Document 17        Filed on 08/09/23 in TXSD        Page 6 of 6




                                    NOTICE OF FORFEITURE
                                       18 U.S.C. ' 2253(a)

       Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States

gives the defendant notice that in the event of conviction for the offenses charged in Count One

through Count Six of the Indictment, the United States will seek to forfeit all property, real and

personal, constituting or traceable to gross profits or other proceeds obtained from the offenses

charged in Count One through Count Six; and all property, real and personal, used or intended to be

used to commit or to promote the commission of the offenses charged in Count One through Count

Six or any property traceable to such property, including, but not limited to, the following:

           1.   Alienware Dell Laptop bearing serial number 1C1R563;
           2.   Apple iPhone belonging to Defendant collected on July 12, 2023;
           3.   Additional Alienware Dell Laptop collected on July 12, 2023;
           4.   Xbox Series S collected on July 12, 2023;
           5.   HP PC Series Tower Pavilion Model 400-224 bearing serial number 4CI4370J8C; &
           6.   Black 8gb Samsung SM-T230NU bearing serial number R52FB005EQT.


                                                             A True Bill:

                                                             __________________________
                                                             Grand Jury Foreperson
       ALAMDAR S. HAMDANI
       United States Attorney

By:    _______________________________
       Luis Batarse
       Assistant United States Attorney
       713-567-9000




                                                   6
